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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


TRISTAN GROGAN,

              Plaintiff,

v.                                                      Case No. 17-12736


MERCHANTS & MEDICAL CREDIT,

              Defendant.

_______________________________________/

              OPINION AND ORDER REMANDING PLAINTIFF’S CLAIM

       Plaintiff Tristan Grogan filed a complaint in Michigan small claims court seeking

$2,000 in damages for Defendant Merchants & Medical Credit’s alleged use of false and

deceptive means in connection with its debt collection from Plaintiff. (Dkt. # 1, Pg. ID 6.)

Defendant was served with the complaint in July 24, 2017 and Defendant filed a notice

of removal with this court on August 21, 2017. (Dkt. # 1.) Defendant claims that this

court has subject matter jurisdiction; however, upon review of Plaintiff’s complaint, the

court was inclined to conclude that it lacked subject matter jurisdiction over Plaintiff’s

claim. (Dkt. # 6.) The court ordered Defendant to show cause by October 27, 2017 for

why the action should not be remanded to Michigan state court. (Dkt. # 6.) Having

received no response from Defendant in the time allotted by the order,
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         IT IS ORDERED that Plaintiff’s complaint is REMANDED to 71A District Court

located in Lapeer, Michigan.

                                                       s/Robert H. Cleland
                                                       ROBERT H. CLELAND
                                                       UNITED STATES DISTRICT JUDGE

Dated:      November 2, 2017


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, November 2, 2017, by electronic and/or ordinary mail.


                                                       s/Lisa Wagner
                                                       Case Manager and Deputy Clerk
                                                       (810) 292-6522




s/Cleland/judgesdesk/c2orders/17-12736.Grogan.RemandState2.aju


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